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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Senior Judge John L. Kane


Date: April 18, 2018                                   Deputy Clerk: Bernique Abiakam
                                                       Court Reporter: Terri Lindblom
Interpreters: Sanjar Babadjanov
              Hasmik Jorgensen
              Shahnoza Rahmanova

Criminal Action No.:12-cr-00033-JLK-2

UNITED STATES OF AMERICA,                              Gregory A. Holloway
                                                       Julia K. Martinez

      Plaintiff,

v.

2.    BAKHTIYOR JUMAEV,                                David B. Savitz
                                                       Mitchell Baker
                                                       Emily E. Boehme

      Defendant.


                                 COURTROOM MINUTES

Jury Trial Day 18

9:03 a.m.       Court in session.

Court calls case. Appearances of counsel. Also present for the Plaintiff, Jason
Ferguson, Special Agent. Defendant present, in custody. Also present for the
Defendant, Anthony F. Divirgilio.

Interpreters present.

Jury present.

9:05 a.m.       Defendant’s witness, Richard Leo,called and sworn.
                Direct examination begins by Mr. Savitz.

Defendant’s witness, Richard Leo, tendered as an expert witness in the areas of social
psychology and criminology and the specific study of police interrogation, psychological
coercion and involuntary confessions.

Objection.

9:20 a.m.       Voir dire by Ms. Martinez.

Objection OVERRULED.
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Tender is ACCEPTED.

9:30 a.m.           Continued

Defendant’s Exhibit 644 offered.

No objection.

Defendant’s Exhibit 644 ADMITTED.

9:32 a.m.           Continued direct examination by Mr. Savitz.

10:27 a.m.          Court in recess.

10:53 a.m.          Court in session.

Jury present.

10:54 a.m.          Continued direct examination by Mr. Savitz.

11:40 a.m.          Cross examination begins by Ms. Martinez.

12:05 p.m.          Witness excused.

12:06 p.m.          Court in recess.

1:25 p.m.           Court in session.

1:26 p.m.           Videotaped testimony of Defendant’s witness, Ilkhom Sobirov, continued.

Comments by Mr. Baker regarding Defendant’s Exhibit 777.

2:18 p.m.           Videotaped testimony of Defendant’s witness, Ilkhom Sobirov, continued.

3:17 p.m.           Court in recess.

3:39 p.m.           Court in session.

3:40 p.m.           Videotaped testimony of Defendant’s witness, Ilkhom Sobirov, continued.

4:51 p.m.           Video ended.

The Court admonishes the Jury regarding any discussion and/or independent research
of the case.

Jury excused.

Comments regarding tomorrow’s witness schedule.


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ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

4:53 p.m.     Court in recess.
Trial continued.
Time in court - 5 hours, 43 minutes.




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